Case 3:17-cv-00072-NKM-JCH Document 1207 Filed 10/12/21 Page 1 of 6 Pageid#: 20227




                             UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Charlottesville Division



    ELIZABETH SINES, SETH WISPELWEY,
    MARISSA BLAIR, APRIL MUÑIZ,
    MARCUS MARTIN, NATALIE ROMERO,
    CHELSEA ALVARADO, JOHN DOE, and                        Civil Action No. 3:17-cv-00072-NKM
    THOMAS BAKER,
                                                                JURY TRIAL DEMANDED
                     Plaintiffs,

           -against-

    JASON KESSLER, et al.,

                           Defendant.


          MOTION FOR PRO HAC VICE ADMISSION OF ANDREW G. CELLI, JR.

                  Pursuant to Rule 6(d) of the Local Rules for the United States District Court for

   the Western District of Virginia, I, Matthew W. Evans, an attorney admitted to practice in this

   Court, and counsel of record in the instant proceeding hereby moves the Court for the admission

   of Andrew G. Celli, Jr., Esquire to appear pro hac vice on behalf of Integrity First for America in

   the above captioned case and in support thereof states as follows:

          1.      Mr. Celli is a Partner with the law firm of Emery Celli Brinckerhoff Abady Ward

   & Maazel, LLP, 600 Fifth Avenue, 10th Floor, New York, NY 10020 (Tel: 212-763-5000, Fax:

   212-763-5001, Email: acelli@ecbawm.com).

          2.      Mr. Celli is qualified and licensed to practice law and is a bar member in good

   standing in the State of New York (Bar ID No. 2434025 – since September 19, 1991). He is also

   a bar member in good standing with the United States Court of Appeals for the Second Circuit.

          3.      Mr. Celli agrees to submit and comply with the appropriate rules of procedure as

   required in the case for which he is applying to appear pro hac vice as well as the rules and
Case 3:17-cv-00072-NKM-JCH Document 1207 Filed 10/12/21 Page 2 of 6 Pageid#: 20228




   standards of professional conduct applicable to all lawyers admitted to practice before this Court.

            WHEREFORE, for the reasons stated above, it is requested that this Court grant this

   motion and permit Andrew G. Celli, Jr., Esq. to appear pro hac vice on behalf of Integrity First

   for America in the above captioned case, and to appear at hearings or trials in the absence of an

   associated member of the bar of this Court.


   Dated:    October 12, 2021


                                                           Respectfully submitted,


                                                           By:           /s/ Matthew W. Evans
                                                                   Matthew W. Evans, VSB# 82081

                                                           75 Maple Avenue
                                                           P.O. Box 999
                                                           Halifax, VA 24558
                                                           Tel: (434) 476 6518
                                                           Fax: (434) 476-7784
                                                           matt@gravittlaw.com

                                                           Attorney for Integrity First for America
Case 3:17-cv-00072-NKM-JCH Document 1207 Filed 10/12/21 Page 3 of 6 Pageid#: 20229




                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 12, 2021, I filed the foregoing with the Clerk of Court
   through the CM/ECF system, which will send a notice of electronic filing to:


   Alan Levine                                          Robert T. Cahill
   Cooley LLP                                           Cooley LLP
   1114 Avenue of the Americas, 46th Floor              11951 Freedom Drive
   New York, NY 10036                                   Reston, VA 20190
   212-479-6260                                         703-456-8000
   alevine@cooley.com                                   rcahill@cooley.com

   Amanda Lee Liverzani                                 Alexandra Kendal Conlon
   Daniel Philip Roy, III                               Benjamin Daniel White
   Cooley LLP                                           Christopher Bradford Greene
   55 Hudson Yards                                      Emily Carrie Cole
   New York, NY 10001                                   Gabrielle E. Tenzer
   212-479-6000                                         Michael Low Bloch
   aliverzani@cooley.com                                Jonathan R. Kay
   droy@cooley.com                                      Joshua Adam Matz
                                                        Roberta Ann Kaplan
   Alexandra Eber                                       Seguin Layton Strohmeier
   Caitlin B. Munley                                    Julie Eden Fink
   Joshua Michael Siegel                                Kaplan Hecker & Fink LLP
   Samantha A Strauss                                   350 Fifth Avenue, Suite 7110
   David E. Mills                                       New York, NY 10118
   Cooley LLP                                           212-763-0883
   1299 Pennsylvania Avenue NW, Suite 700               aconlon@kaplanhecker.com
   Washington, DC 20004-2400                            bwhite@kaplanhecker.com
   202-842-7800                                         cgreene@kaplanandcompany.com
   aeber@cooley.com                                     ecole@haplanhecker.com
   jsiegel@cooley.com                                   gtenzer@kaplanhecker.com
   dmills@cooley.com                                    mbloch@kaplanhecker.com
                                                        jkay@kaplanhecker.com
   Allegra Flamm                                        jmatz@kaplanandcompany.com
   Khary Anderson                                       rkaplan@kaplanandcompany.com
   Cooley LLP – Library                                 sstrohmeier@kaplanandcompany.com
   1299 Pennsylvania Avenue NW, Suite 700               jfink@kaplanandcompany.com
   Washington, DC 20004-2400
   202-776-2985
   202-776-2160
   aflamm@cooley.com
   kjanderson@cooley.com
Case 3:17-cv-00072-NKM-JCH Document 1207 Filed 10/12/21 Page 4 of 6 Pageid#: 20230




   Jessica E. Phillips                                Philip Matthew Bowman
   Giovanni Sanchez                                   Yotam Barkai
   Karen Leah Dunn                                    Boies Schiller Flexner, LLP
   William Anthony Isaacson                           55 Hudson Yards
   Paul, Weiss, Rifkind, Wharton & Garrison           New York, NY 10001
   LLP                                                212-446-2300
   2001 K Street, NW                                  pbowman@bsfllp.com
   Washington, DC 20006                               ybarkai@kaplanhecker.com
   202-223-7300
   jphillips@paulweiss.com                            Katherine Marie Cheng
   gsanchez@paulweiss.com                             Boies Schiller Flexner, LLP
   kdunn@paulweiss.com                                1401 New York Avenue, NW
   wisaacson@paulweiss.com                            Washington, DC 20005
                                                      202-237-2727
   Makiko Hiromi                                      kcheng@bsfllp.com
   Nicholas Butto
   Agbeko Petty                                       John Benjamin Rottenborn
   Paul, Weiss, Rifkind, Wharton & Garrison           Woods Rogers PLC
   LLP                                                P.O. Box 14125
   1285 Avenue of the Americas                        Roanoke, VA 24038-4125
   New York, NY 10019                                 540-983-7540
   212-373-3000                                       brottenborn@woodsrogers.com
   mhiromi@paulweiss.com
   nbutto@paulweiss.com
   apetty@paulweiss.com


   Counsel for Plaintiffs Elizabeth Sines, Seth Wispelwey, Marissa Blair, April Muniz, Marcus
   Martin, John Doe, Natalie Romero, Chelsea Alvarado, and Thomas Baker
Case 3:17-cv-00072-NKM-JCH Document 1207 Filed 10/12/21 Page 5 of 6 Pageid#: 20231




    Justin Saunders Gravatt                      James E. Kolenich
    David L. Campbell                            Kolenich Law Office
    Duane, Hauck, Davis & Gravatt, P.C.          9435 Waterstone Blvd. #140
    100 West Franklin Street, Suite 100          Cincinnati, OH 45249
    Richmond, VA 23220                           jek318@gmail.com
    jgravatt@dhdglaw.com
    dcampbell@dhdglaw.com                        Elmer Woodard
                                                 5661 US Hwy 29
    Counsel for Defendant James A. Fields, Jr.   Blairs, VA 24527
                                                 isuecrooks@comcast net

                                                 Counsel for Defendants Jason Kessler,
                                                 Nathan Damigo, and Identity Europa, Inc.
                                                 (Identity Evropa)

    W. Edward ReBrook                            Joshua Smith Esq.
    The ReBrook Law Office                       Smith LLC
    6013 Clerkenwell Court                       807 Crane Ave.
    Burke, VA 22015                              Pittsburgh, PA 15216
    edward@rebrooklaw.com                        joshsmith2020@gmail.com
    rebrooklaw@gmail.com
                                                 Counsel for Matthew Heimbach, Matthew
    Counsel for Defendants National Socialist    Parrott and Traditionalist Worker Party
    Movement, Nationalist Front, Jeff Schoep,
    Matthew Heimbach, Matthew Parrott and
    Traditionalist Worker Party

    Bryan Jones
    106 W. South St., Suite 211
    Charlottesville, VA 22902
    bryan@bjoneslegal.com

    Counsel for Defendants Michael Hill,
    Michael Tubbs, and League of the South
Case 3:17-cv-00072-NKM-JCH Document 1207 Filed 10/12/21 Page 6 of 6 Pageid#: 20232




          I further certify that on October 12, 2021, I also served the foregoing upon following
   non-ECF pro se defendants and participants, via electronic mail or First Class U.S. Mail, as
   follows:

    Richard Spencer                                  Elliott Kline
    richardbspencer@gmail.com                        eli.f mosley@gmail.com
    richardbspencer@icloud.com                       deplorabletruth@gmail.com
                                                     eli.r kline@gmail.com

    Robert Ray                                       VIA U.S. Mail
    azzmador@gmail.com                               Christopher Cantwell
                                                     Inmate 00991-509
    Vanguard America                                 USP Marion
    c/o Dillon Hopper                                U.S. Penitentiary
    dillon_hopper@protonmail.com                     P.O. Box 2000
                                                     Marion, IL 62959


                                                       /s/ Matthew W. Evans
